     Case 1:20-cv-03127-SAB    ECF No. 86   filed 09/24/20   PageID.2774 Page 1 of 2



 1
 2                                                                        FILED IN THE
                                                                      U.S. DISTRICT COURT

 3                                                              EASTERN DISTRICT OF WASHINGTON




 4                                                               Sep 24, 2020
                                                                     SEAN F. MCAVOY, CLERK
 5                       UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 STATE OF WASHINGTON, STATE OF                No. 1:20-CV-03127-SAB
 9 COLORADO, STATE OF
10 CONNECTICUT, STATE OF ILLINOIS
11 STATE OF MARYLAND, STATE OF                  ORDER DIRECTING
12 MICHIGAN, STATE OF MINNESOTA,                PLAINTIFFS TO RESPOND
13 STATE OF NEVADA, STATE OF NEW
14 MEXICO, STATE OF OREGON, STATE
15 OF RHODE ISLAND, STATE OF
16 VERMONT, COMMONWEALTH OF
17 VIRGINIA, and STATE OF
18 WISCONSIN,
19        Plaintiffs,
20        v.
21 DONALD J. TRUMP, in his official
22 capacity as President of the United States
23 of America; UNITED STATES OF
24 AMERICA; LOUIS DEJOY, in his official
25 capacity as Postmaster General; UNITED
26 STATES POSTAL SERVICE,
27        Defendants.
28

      ORDER DIRECTING PLAINTIFFS TO RESPOND ~ 1
     Case 1:20-cv-03127-SAB     ECF No. 86    filed 09/24/20   PageID.2775 Page 2 of 2



 1        Before the Court is Defendants’ Motion to Clarify the Preliminary
 2 Injunction, ECF No. 83, and related Motion to Expedite, ECF No. 84. Defendants
 3 ask the Court to provide clarification to its Order granting Plaintiffs’ Motion for
 4 Preliminary Injunction. Defendants indicate Plaintiffs’ counsel represented that
 5 they take no position on the motion at this time. The Court finds the interest of
 6 justice, however, requires that Plaintiffs respond to the motion prior to the Court
 7 ruling on Defendants’ motion.
 8        Accordingly, IT IS HEREBY ORDERED:
 9        1.    Within seven (7) days from the date of this Order, Plaintiffs shall file
10 a response to Defendants’ Motion to Clarify the Preliminary Injunction.
11        2.    Defendants’ Unopposed Motion for Expedited Consideration and to
12 Exceed Page Limits of Defendants’ Motion for Clarification, ECF No. 84, is
13 GRANTED.
14        3.    The hearing on Defendant’s Motion to Clarify the Preliminary
15 Injunction, ECF No. 83, is set for October 2, 2020, without oral argument.
16        IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
17 and forward copies to counsel.
18        DATED this 24th day of September 2020.
19
20
21
22
23
                                       Stanley A. Bastian
24
                                    United States District Judge
25
26
27
28

     ORDER DIRECTING PLAINTIFFS TO RESPOND ~ 2
